Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 1 of 30 Page ID
                                 #:2215




                       EXHIBIT A
Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 2 of 30 Page ID
                                 #:2216




                      EXHIBIT A-1
                                                                                                                     Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 3 of 30 Page ID
                                                                                                                                                      #:2217
Wendy Gunton - Business System Analyst - Tata Technologies I Linkedln
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28-02-2022
Page 1




                                            Linkedfm                                               People •              Wendy                             Gunton                                             Join now     (   Sign in )



                                                                                                                                                                                        People also viewed
                                                                                                                                                                                                  Paul Mellows
                                                                                                                                                                                                  Retired and enjoying life!
                                                                                                                                                                                                  Nottinghamshire

                                                                                                                                                                                                  Aditi Trivedi
                                                                                                                                                                                                  Business Analyst I Test Architect I
                                                                                                                                                                                                  Performance Tuning & Optimization I
                                                                                                                                                                                                  m L certified
                                                                                                                                                                                                  United Kingdom

                                                                                                                                                                                                  Marian Kelly
                                               Wendy Gunton                                                                                      ■ Tata Technologies                              Partner Performance Lead at Serco
                                               Business System Analyst                                                                                                                            Greater Leicester Area
                                               Wolston, England, United Kingdom · 402 connections
                                                                                                                                                 E::I The University of Manchester
                                                                                                                                                                                         ~ Mohil Tanna

                                                      Join to connect
                                                                                                                                                                                        '-/1'.l,l Developer I TCS Digital Cadre at Tata
                                                                                                                                                                                                  Consulta ncy Services
                                                                                                                                                                                                  Pune

                                                                                                                                                                                                  Adam Jones
                                               About                                                                                                                                              Manager at Deloitte
                                               A professional and highly respected Business/System Analyst with excellent analytical, invest igative and                                          London
                                               design skills with the ability to see the overv iew.                                                                                     ..' J. .', Dinesh Voonna
                                                                                                                                                                                         V' Senior Technical Consultant at Salesforce
                                               Enjoy new challenges and learning new things. Flexible and adept at quickly picking up and running with                                            Bengaluru
                                               new ideas and concepts. Adaptable with a proven track record of moving to new technical areas.
                                                                                                                                                                                         ~ Adrian Cree k
                                               Able to quickly identify and resolve key issues related to the task assigned including finding creative                                   ~ China, Technologies & Cloud Lead
                                                                                                                                                                                                  Security Architect @ Jaguar Land Rover
                                               solutions. Able to make decisions but also identify when a decision cannot be made and raising it as an
                                                                                                                                                                                                  Li lbourne
                                               issue.
                                                                                                                                                                                                  Mark Terry
                                               A hard worker able to work with the very briefest of guidance. Pro-active and tend to take the technical                                           Senior Business Analyst JLR projects @
                                               lead in tackling import ant issues. Good 'team player' willing to be consulted and to provide guidance to                                          TTL
                                               others.                                                                                                                                            Solihull

                                                                                                                                                                                                  James Taylor
                                               Extensive experience in the development of complex software systems involving multiple hardware
                                                                                                                                                                                                  Lead Senior Engagement Manager at
                                               platforms. This includes real time, high availability, embedded software, and web-based management                                                 Rackspace
                                               systems. Used waterfall and agile methodologies.                                                                                                   Laverton

                                               Worked on multiple stages in the software development lifecycle, from identifying issues to support ing                                            Eve Chaplin
                                               manufacturing, including requirement management, software design, data design, code, test, training,                                               Client Relationship Manager at QA Ltd
                                               hyper-care support and updating business processes.                                                                                                Glasgow

                                                                                                                                                                                        Show more profiles v-
                                               SELECTED SKILLS AND EXPERIENCE
                                               • Business Transformation driven from the deployment of a new Configuration Management System.
                                               • Gathered requirements using international standards, business processes and pain points to generate
                                                                                                                                                                                        Add new skills wit h t hese
                                               business requirements.
                                               • Translated business requirements into technical requirements including software design and data                                        courses
                                               modelling when necessary to specify interfaces and data mapping.
                                                                                                                                                                                                         Microsoft Azure Sy napse
                                               • Requirement management during the implementation and testing stages. This included monitoring
                                                                                                                                                                                                         for Developers: Scaling
                                               software development by 3rd part ies.
                                                                                                                                                                                                         Configuration
                                               • Data analysis of configuration data and the design of complex data transformations.
                                               • Application of obj ect-oriented analysis and design using UML and OMT                                                                                   Software Project
                                               • Support deployment of new applications and functionality into complex legacy environments. This                                                         Management Foundations
                                               includes data preparation, user training and hyper-care support.
                                                                                                                                                                                                             Business Analysis:
                                               • Authoring Technical specifications and customer documentation.
                                                                                                                                                                                                         Essential Tools and
                                               • Microsoft 365 (Excel, Word, PowerPoint), and Visio.
                                                                                                                                                                                                         Techniqu es
                                               • Software programming of embedded real time applications and data management systems. 5 years C,
                                               2 years C++
                                                                                                                                                                                        (   See all courses )
                                               • Requirement Management Tools, Configuration Management Tools and Fault Management Tools.


                                                                                                                                                                                        Wendy's public profile badge
                                               Act ivity                                                                                                                                Include this Linkedin profi le on other
                                                                                                                                                                                        websites

                                                                                                                       I don't really get political on Social Media and I don't
                                                                                                                       have strong party political allegiance; I 'm kind-of                         Wendy Gunton
                                                                                                                                                                                                    Business System Ana lyst
                                                                                                                       centre left but admire some MPs of...
                                                                                                                       Liked by Wendy Gunton

                                                                                                                                                                                            •    Business System Ana lyst at Tata
                                                                                                                                                                                                 Technologies

                                                                                                                                                                                            E::I The University of Manchester
                                                                                                                       https:/ / lnkd.in/ e_K-qZKF #ai #aid riven                            View profile                       LinkedU:,
                                                                                                                       Liked by Wendy Gunton

                                                                                                                                                                                        (   View profile badges )


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                                                     ....,.,......,.............,,...                                  Liked by Wendy Gunton
                                                     """""'"


                                               (      Join now to see all activity )




                                               Experience


                                                   ■
                                                                      Business System Analyst
                                                                      Tata Technologies
                                                                      Oct 2021 - Present · 5 months
                                                                      Warwick, England, United Kingdom
                                                                      Supporting a major upgrade of the Configit Ace© Configuration system used by JLR

                                                                   Jaguar Land Rover
                                                                   9 years 7 months
                                                                            Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 4 of 30 Page ID
                                                                                                             #:2218
Wendy Gunton - Business System Analyst - Tata Technologies I Linkedln
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28-02-2022
Page 2




                                                  •   Business System Analyst
                                                      Mar 2019 - Mar 2021 · 2 years 1 month
                                                      Coventry, England, United Kingdom
                                                      Business / System Analyst supporti ng a major network upgrade replacing mult iple legacy solve
                                                      engines with the Configit Ace© solve engine.

                                                      This included:
                                                      * Managed requirements.
                                                      * Identified and documented the technical requirements for a new application to translate
                                                      Configit Ace© Content Management data into legacy data.
                                                      * Worked with the Business Users of Configit Ace© to prepare for deployment of Configit Ace
                                                      Solves. This involved training and mentoring them so that they could update the business
                                                      processes, and then successfully transition to authoring Content Management data in Configit
                                                      Ace
                                                      Show less ..-...


                                                  •   System / Business Analyst
                                                      Dec 2017 - Mar 2019 · 1 year 4 months
                                                      Coventry, England, United Kingdom
                                                      Business / System Analyst supporti ng the deployment of a new configuration lifecycle
                                                      management system, Configit Ace© in a complex legacy environment.

                                                      This included
                                                      * Invest igated configuration data produced by the legacy authoring application to understand
                                                      how it was consumed by downstream systems. Determined how the same scenarios could be
                                                      replicated using data produced by Configit Ace© .
                                                      * Generated the requirements and data mapping for a new application which transformed rule
                                                      and feature data authored in Configit Ace© into the data objects and attributes used by the
                                                      legacy downstream applications.
                                                      * Worked with the external supplier during the development and testing of the translator
                                                      application to ensure that the transformed data perf ormed the same task as the legacy
                                                      configuration data.
                                                      * Trained JLR Business Users of Configit Ace© to understand the behaviour of the Translator so
                                                      that they understood how to model rules that were supported by the translator application.
                                                      * Provided hyper-care support during the deployment of the translator application.
                                                      Show less ..-...


                                                  •    Business Analyst
                                                       Sep 2011 - Dec 2017 · 6 years 4 months
                                                       Coventry, England, United Kingdom
                                                       Business Analyst supporting the development of a new config uration lifecycle management
                                                       system, Configit Ace© which supports the mass customization of products. The tool was
                                                       produced jointly by JLR and Configit

                                                       This included
                                                       * Managed requirements
                                                       * Investigated and documented new functionality requested by Business Users.
                                                       * Worked with software supplier Configit to translate business requirements into technical
                                                       solutions, user stories and data models.
                                                       * Monitored the agile software development by attending workshops, reviewing
                                                       documentation, prototypes, and test results. Also provided clarification and architectural
                                                       support when necessary.
                                                       * Worked with the JLR test team ensure that the new functionality was suitable for
                                                       deployment. Triaged defects.
                                                       * Participated in the integration of Configit Ace© with legacy downstream systems and
                                                       Dassault Enovia Product Lifecycle Management System suite to provide a single source of the
                                                       truth.
                                                       Show less ..-...




                                               El
                                                       Ericsson Research and Development
                                                      5 years 10 months


                                                  •   System Analyst
                                                      Jun 2010 - Dec 2010 · 7 months
                                                      Coventry, England, United Kingdom
                                                      System Design supporting an Operation Support System managing SDH, WDM and Ethernet
                                                      Equipment.

                                                      Produced detailed software requirements for a new maj or release.

                                                  •    System Analyst
                                                       Mar 2005 - May 2010 · 5 years 3 months
                                                       Coventry, England, United Kingdom
                                                       System design supporting telephony and various multimedia serv ices in the IP network using
                                                       the IMS (IP Multimedia Subsystem) framework. The IMS system consisted of multiple complex
                                                       embedded high availability applications which communicated using a variety of protocols
                                                       including SIP, Diameter and H.248.

                                                       This included:
                                                       * Generated and managed requirements
                                                       * Produced implementation proposals
                                                       * Designed Web portal interface
                                                       * Authored technical specifications and customer documentation
                                                       Show less ..-...



                                                       System Engineer
                                                       Marconi
                                                       Jun 1999 - Mar 2005 · 5 years 10 months
                                                       Coventry, England, United Kingdom
                                                       System Design supporting the development of SDH and WDM network and element
                                                       Managers.

                                                       This included:
                                                       * Generated requirements and interface specifications
                                                       * Proposed general-purpose and innovative tools which logically re-arranged routing
                                                       information in customer databases.
                                                       * Designed a data model which was used to remotely manage data traffic and successfully
                                                       negotiated its acceptance by six different development teams in Italy and the UK. Also
                                                       reviewed the designs produced by the different development teams to ensure inter-working.
                                                       Show less ..-...
                                                                                   Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 5 of 30 Page ID
                                                                                                                    #:2219
Wendy Gunton - Business System Analyst - Tata Technologies I Linkedln
https: / / uk.linkedin.com / in / wendygunton
28-02-2022
Page 3




                                                             GPT
                                                             8 years 2 months


                                                    •                Software Engineer (Network Management)
                                                                     Jun 1997 - Jun 1999 · 2 years 1 month
                                                                     Coventry, England, United Kingdom
                                                                     Designed and developed software for the network management of telecommunication
                                                                     equipment (SDH and WDM) using OMT and C+ +

                                                                     This included
                                                                     * Designed User interface
                                                                     * Produced and tested software to manage new switching card within a large high
                                                                     availability management system.


                                                    •                 Software Engineer (Real-Time Embedded)
                                                                      May 1991 - Jun 1997 · 6 years 2 months
                                                                      Coventry, England, United Kingdom
                                                                      Designed and developed real-time embedded software for SDH and WDM transmission
                                                                      equipment using C, RTSASD and OMT.

                                                                      This included
                                                                      * Analysed international standards and generated detailed requirements
                                                                      * Wrote and tested firmware for real time, high availability, embedded applications
                                                                      transmission cards
                                                                      * Negotiated with clients
                                                                      * Produced compliance statements

                                                              Software Development Engineer
                                                              GEC Telecommunications
                                                              Aug 1979 - Apr 1991 · 11 years 9 months
                                                              Coventry, England, United Kingdom
                                                              Software Development Engineer developing real-time embedded firmware in a range of
                                                              small Automatic Call Distribution (ACD)/ Private Automatic Branch Exchanges.

                                                              This included
                                                              * Managed teams of software developers
                                                              * Produced and tested real time high availability, embedded software
                                                              * Defect management
                                                              * Test management
                                                              * Authored user documentation


                                               Education
                                                              The University of Manchester
                                                   Ill        BSc 2.1 Hons
                                                              1976 - 1979




                                               Licenses & Certifications


                                                   Im
                                                              Learning Data Analytics
                                                              Linkedl n
                                                              Issued Sep 2021
                                                              See credential e




                                               Groups
                                                              GEC Plessey Telecommunications



                                                        • Contract Business Analyst (UK)



                                                              UMIST Alumni



                                                              The University of Manchester Alumni Association



                                                              Marconi pie
                                                   ~ Hconi




                                                              The Business and Data Analyst Forum




                                               Recommendations received

                                                             Jim Dearn
                                                             "Wendy joined the project team I was working on at JLR without automotive experience but
                                                             with a excellent understanding of Business Analysis. She was able to apply those skills and
                                                             produce quality output. What impressed me is the way she would approach a subject area,
                                                             ask me and others for opinions and keep drilling until a comprehensive understanding was
                                                             established. This understand ing was then documented for all. She quickly gained the
                                                             confidence of all with her thoroughly professional approach to Business Analysis."



                                                             Linkedln User
                                                             "Wendy was positioned in a very difficult and large project aligned to two very large and
                                                             important programs so requirements gathering was quite a challenge and simultaneously
                                                             having to ensure she aligned to an evolving methodology made it even more of a challenge,
                                                             but Wendy approached this positively and endeavoured to apply the ru les but using a
                                                             pragmatic approach to ensure that the Project Managers demands were met. A focused and
                                                             engaging personality eager to ensure the right things are done whilst mindful of the solution
                                                             delivery."



                                               6 people have recommended Wendy


                                               (    Join now to view )




                                               More activity by Wendy
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                                                                                                                           #:2220
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28-02-2022
Page 4




                                                 ~       ,.,.-.._.,.. _ _ _,                   I 'm humbled and honoured to have been awarded a
                                                                                               Service Excellence Award in recognition of my
                                                                                               contribution to the practice. I am grateful to IBM ...
                                                                                               Liked by Wendy Gunton




                                                          JI.,......   ~...                    Completion Certificate for Google Cloud Platform
                                                                                               Fundamentals: Core Infrastructure
                                                                                               Liked by Wendy Gunton




                                                                                               While I look for my next role I am pleased to say
                                                                                               that I have been accepted as a volunteer responder
                                                                                               for the NHS. Pleased to be able to help my...
                                                                                               Liked by Wendy Gunton




                                                                                               One can not help but to look at the year behind and
                                                                                               be grateful. Grateful for the growth opportunities,
                                                                                               this year they were focused on soft skills ...
                                                                                               Liked by Wendy Gunton




                                                                                               2019 has been a very challenging year for myself
                                                                       *                       and my family, however we are still smiling ~ - I did
                                                                                               learn a lot about myself and others during ...
                                                                                               Liked by Wendy Gunton




                                                     View Wendy's full profile
                                                     a:, See who you know in common

                                                     ia. Get introduced
                                                     & Contact Wendy directly


                                                     (   Join to view full profile )



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Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 7 of 30 Page ID
                                 #:2221




                      EXHIBIT A-2
                                                                                     Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 8 of 30 Page ID
                                                                                                                      #:2222
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Page 1




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                                                                                                                                                                      William Brueggeman
                                                                                                                                                                      Senior Warranty Management Specialist
                                                                                                                                                                      Mason, OH

                                                                                                                                                                      Val erij Nikolaenko
                                                                                                                                                                      Director of Continuing Airworthiness
                                                                                                                                                                      Department at JSC Aeroflot Russian
                                                                                                                                                                      Airlines
                                                                                                                                                                      Russia

                                                                                                                                                                       Enrico Giusti
                                                   David Jobling                                                   @ Zerolight                                        Experienced Supply Chain Director
                                                   Mostly retired                                                                                                     Greensboro--Winston-Salem--High Point
                                                   Warwick, England, United Kingdom · 500+ connections                                                                Area

                                                                                                                                                                       Nick Edwards
                                                       Join to connect                                                                                                Engineering Maintenance Control
                                                                                                                                                                      Manager at British Airways
                                                                                                                                                                      Greater Reading Area

                                                   Articles by David                                                                                                  Jaroslav Kubes
                                                                                                                                                                      Head of Commercial Shared Services at
                                                                                                                                                                      SR Technics
                                                                                       Looking forward to catching up with my old friends -
                                                                                                                                                                      Zurich, Switzerland
                                                                                       and making new - in the Automotive Variant
                                                                                       Management world in Berlin next week                                           Owain Williams
                                                                                       By David Jobling                                                               Operational Support Manager -
                                                                                       Nov 22, 2018                                                                   I nventory, Planning & Commercial at
                                                                                                                                                                      British Airways
                                                                                                                                                                      United Kingdom

                                                                                       Solving the challenges of interactive product                                  Al Shipman
                                                                                       configuration                                                                  Program Manager - Retired

                                                                                       By David Jobling                                                               Waverly, NY

                                                                                       Jul 31, 2016                                                                   Ian Winter
                                                                                                                                                                      Product Support Engineer currently
                                                                                                                                                                      looking for a new role
                                                                                                                                                                      Woking
                                                                                       Configit is looking for an experienced CLM Solution
                                                                                       Principal in the USA                                                            Paul Hampshire
                                                                                                                                                                      Production Manager at British Airways
                                                                                       By David Jobling
                                                                                                                                                                      Avionic Engineeri ng
                                                                                       Jan 26, 2016
                                                                                                                                                                      Greater cardiff Area

                                                                                                                                                                       Duncan Gray
                                                                                                                                                                      Contract Manager at Combined Technical
                                                                                                                                                                      Solutions
                                                   Act ivity                                                                                                          London

                                                                                                                                                            Show more profiles v-
                                                                                       "Don't worry, be happy" - the best advice I could
                                                                                       give the readers of Just Auto in my latest Q&A on the
                                                                                       outlook for our industry from the Zerolight...                       Others named David
                                                                                       Liked by David Jobling                                               Jobling
                                                                                                                                                                       David Jobling
                                                                                                                                                                      Partner at Deloitte
                                                                                       My wife and business partner dodges the world of                               Auckland
                                                                                       Linkedln ... so I'll share this... she's the creative force
                                                                                                                                                                       David Jobling
                                                                                       and beating heart behind Cake Stories...
                                                                                                                                                                      Helping public sector clients solve
                                                                                       Liked by David Jobling                                                         problems and deliver solutions
                                                                                                                                                                      Royal Leamington Spa

                                                                                                                                                                       David Jobling
                                                                                       DMI (Digital Management, LLC) are the Headline                                 Head of Technology Architecture
                                                                                       sponsors for Future Mobilty Detroit summit 2021                                (Delivery) at Avanade
                                                                                       Join us to learn more about How will shared                                    Belfast Metropolitan Area
                                                                                       mobility...
                                                                                       Liked by David Jobling                                                          David Jobling
                                                                                                                                                                      Toronto, ON

                                                                                                                                                                       David Jobling
                                                   (   Join now to see all activity )                                                                                 MD at Wilkinson's
                                                                                                                                                                      Tonbridge

                                                                                                                                                            37 others named David Jobling are on
                                                   Experience                                                                                               Linkedin
                                                             Director of Business Development - UK & Asia (Consultant)
                                                       @     Zerolight                                                                                      (    See others named David Jobling )

                                                             Oct 2017 - Dec 2019 · 2 years 3 months
                                                             Newcastle upon Tyne, England, United Kingdom                                                   Add new skills wit h t hese
                                                             Responsible for business development in the UK and Asia (predominantly Japan), taking          courses
                                                             Zerolight's ground-breaking sales configuration and visualisation solutions to major
                                                             automotive OEMs.                                                                                                  Software Project
                                                                                                                                                                               Management Foundations

                                                                                                                                                                               Product Management:
                                                             Zerolight are a multi-awarding winning, innovative company changing how the world buys
                                                                                                                                                                               Building a Product
                                                             cars. From our base in Newcastle, England, our team of talented professionals create
                                                                                                                                                                               Strategy
                                                             exceptional solutions for and with some of the biggest brands in the world.
                                                                                                                                                            ~ 4-
                                                                                                                                                              Enterprise Agile:
                                                             http://zerolight.com/                                                                          ~ Changing Your Culture

                                                                                                                                                            (    See all courses )
                                                             Community Director - UK
                                                             Aras Corporation
                                                             Jan 2018 - Apr 2019 · 1 year 4 months                                                          David's public profile badge
                                                             London, England, United Kingdom                                                                Include this Linkedin profile on other
                                                             Responsible for business development and community (customer) activities for the new Aras      websites
                                                             subsidiary office in the UK. Direct focus on large enterprises in Automotive, Aerospace &
                                                             Defence, Industrial, Electronics & High Tech etc.; supporti ng the Aras partner network with
                                                                                                                                                                        David Jobling
                                                             SMEs.                                                                                                      Mostly retired

                                                             Aras is a high growth, global software company delivering enterprise Product Lifecycle
                                                                                                                                                                ( View profile                      LinkedU:,
                                                             Management (PLM) solutions to address the rapidly growing complexity in large scale
                                                             corporate environments. Founded in 2000, Aras is led by a combination of executives &
                                                             technologists from across the software industry including SAP, SIEMENS, PTC, Oracle,           (    View profile badges )
                                                             Dassault Systemes and others.
                                                             Show less ..-...
                                                                                    Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 9 of 30 Page ID
                                                                                                                     #:2223
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28-02-2022
Page 2




                                                  ■•
                                                            Configit
                                                            4 years 6 months

                                                            SVP Sales, Automotive
                                                            Jun 2016 - Sep 2017 · 1 year 4 months
                                                            Warwick, UK
                                                            Promoted to Senior Vice President Sales; with responsibility for the Global Centre of Excellence
                                                            for Automotive, Transportation and Heavy Equipment.

                                                            By 2017 Config it was a company of 160+ people with an established Automotive business unit,
                                                            with sales, pre-sales, product, professional serv ices, delivery and support functions in five
                                                            geographical locations.

                                                     •      Sales Director, Automotive
                                                            Apr 2013 - Jun 2016 · 3 years 3 months
                                                            Warwick, UK
                                                            Recruited to set up a global sales and commercial function for the broad automotive market -
                                                            including passenger car, commercial vehicle, bus, construction and agricultural equipment,
                                                            aerospace and other similar industries.

                                                            At that time (2013), Configit was a company of about 40 people with fantastic technology and
                                                            amazing people, strong expert ise in CPQ (Configure-Price-Quote) and SAP VC, but little
                                                            experience of the automotive or heavy equipment industries. Configit had been selected by
                                                            Jaguar Land Rover to provide a new configuration management solution to replace multiple
                                                            legacy systems; the result was Configit Ace, developed by R&D teams in Warw ick (UK) and
                                                            Copenhagen (DK).

                                                            Configit is a pioneer in the concept of Configuration Lifecycle Management (CLM), combining
                                                            engineering and market ing intent to suppmt the full product lifecycle with a "single source of
                                                            truth"- support ing engineering, homologation, manufacturing, sales and serv ice. CLM connects
                                                            the main pillars of an OEM's systems landscape such as PDM, PLM, ERP, MES and CRM.
                                                            Show less ......


                                                            PTC
                                                            1 year 6 months


                                                     •      Business Development Director, Service Lifecycle Management
                                                            Feb 2012 - Mar 2013 · 1 year 2 months
                                                            Farnborough, England, United Kingdom
                                                            Responsible for business development across Europe of PTC Service Lifecycle Management
                                                            solutions including Warranty and Contract Management, Technical Support and Knowledgebase,
                                                            Field Service / Serv ice Management, Business Intelligence.

                                                     •      Director, 4CS Europe
                                                            Oct 2011 - Apr 2012 · 7 months
                                                            United Kingdom
                                                            Managed the transit ion of accounts, customers and prospects from 4CS into the PTC
                                                            organisation.

                                                            Initiated training programs to inform and educate the PTC community about the 4CS solutions
                                                            for warranty, technical support / knowledgebase, service event management etc.


                                                  ~ 4CS
                                                            4 years 1 month

                                                     •      Director, Europe
                                                            Oct 2008 - Oct 2011 · 3 years 1 month
                                                            United Kingdom
                                                            Responsible for Sales, Marketing and Professional Services in EMEA for 4C Solutions, Inc.

                                                            About 4CS: 4CS was a leading provider of warranty management and serv ice lifecycle
                                                            management software, headquart ered in Illinois, USA. The 4CS approach to warranty and
                                                            service lifecycle management leverages a product-centric data model to capture service history
                                                            and product updates in the form of an "as-maintained" bill of material (BOM). Bringing this
                                                            impmt ant data back into the enterprise enables continuous product and service improvement.
                                                            On September 6, 2011, PTC announced the acquisition of 4CS.
                                                            Show less ,..,_


                                                     •      Senior Business Consultant
                                                            Oct 2007 - Sep 2008 · 1 year


                                                             Head of Consulting
                                                             IBS Automotive
                                                             Jan 2005 - Sep 2007 · 2 years 9 months
                                                             Henley-on-Thames, England, United Kingdom
                                                             Developed and managed the consulting practice at IBS Automotive, with consultants,
                                                             project managers and business analysts across Europe and the USA.

                                                             IBS, an ERP provider headquartered in Sweden, acquired IDS Enterprise Systems of
                                                             Australia in 2005 to create IBS Automotive. The IDSe42 ERP system, designed for
                                                             automotive and other equipment manufacturers, included modules for vehicles / units,
                                                             parts, warranty, finance and business intelligence.

                                                             Business Consultant
                                                   ~
                                                         - · TNT
                                                             2004 - 2005 · 1 year
                                                             Atherstone, England, United Kingdom
                                                             Lead consultant / analyst on a team developing new Track & Trace systems for a global
                                                             logistics organisation

                                                             Business Relationship Manager ( interim)
                                                             gedas / Volkswagen
                                                             2003 - 2004 · 1 year
                                                             Milton Keynes, England, United Kingdom


                                                             Sales and Operations Director
                                                             Retainagroup
                                                             2002 - 2003 · 1 year
                                                             London, England, United Kingdom


                                                             Project Management Consultant
                                                             Mitchells & But lers
                                                             2000 - 2002 · 2 years
                                                             Birmingham, England, United Kingdom
                                                                                           Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 10 of 30 Page ID
                                                                                                                            #:2224
David ) obiing - Warwick, England, United Kingdom I Professional Profile I Linkedln
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28-02-2022
Page 3




                                                      ■
                                                                   Systems Director
                                                                   BMW Japan
                                                                   1998 - 2000 · 2 years
                                                                   Tokyo, Tokyo, Japan
                                                                   Managed joint development projects for Rover and BMW such as a common Dealer
                                                                   Management System (OMS), POI / vehicle preparation centres, part s and warehouse
                                                                   control.

                                                                   Managed the back-office and systems migration from Rover Japan NSC to the BMW Japan
                                                                   national sales company (NSC).

                                                                   Systems Manager, Systems Director
                                                                   Rover Japan
                                                                   1990 - 2000 · 10 years
                                                                   Tokyo, Japan
                                                                   Managed the systems department for Rover Japan, implementing ERP systems for all
                                                                   business units (sales, market ing, fi nance, after-sales, parts etc.). Provided and Dealer
                                                                   Management and Dealer Communication systems.

                                                                   Rover Japan was the National Sales Company (NSC) for Rover Group, distributing and
                                                                   providing after-sales support for the Rover, Land Rover; Mini and MG brands throughout
                                                                   Japan via a network of 160+ dealers and wholly-owned retailers. During the 1990s sales
                                                                   volume increased ...
                                                                   Show more ._...


                                                                   Consultant, progre.ssing to General Manager
                                                                   Distributive Computer Systems (DCS)
                                                                   1982 - 1989 · 7 years
                                                                   Leamington Spa, England, United Kingdom
                                                                   - Dealer Management System Consultant for DCS in UK and overseas (USA, Middle East, Far
                                                                   East)
                                                                   - General Manager for DCS Far East (subsidiary in Hong Kong), developing business in APAC



                                                   Recommendations received

                                                                   Prabdeep Walia
                                                               " David is an incredible leader and manager for his team members. Right from my day one in
                                                               Configit he has been extremely support ive and it has been a great j ourney with him in
                                                               formation of the automotive business. He also enj oys great relationship with his customers
                                                               and supports them through the proj ects striking a perfect balance of professionalism and
                                                               personal relationship. I wish him best in his new endeavour. "



                                                                   Sue Bradnock
                                                               "David introduced me to Configit to assist with a maj or recruitment campaign, where we
                                                               sourced C# software developers from across Europe. David is a professional, friendly and
                                                               well respected individual who has a wealth of knowledge and experience. He has
                                                               enthusiasm, drive and a huge network of global contacts and would be an asset to any
                                                               organisation."



                                                  9 people have recommended David


                                                  (   Join now to view )




                                                   More activity by David

                                                                                              So now I have to get off the pot! As a dual national
                                                                                              English/ Italian I have always had two bites of the
                                                                                              cherry when it comes to football ...
                                                                                              Liked by David ] obiing




                                                                                              It was great to work at Zuhlke Group for the last
                                                                                              year, met very talented people and contributed to a
                                                                                              great national cause. Today is a new week and ...
                                                                                              Liked by David ] obiing




                                                       FT 1000
                                                                        Europe's Fastest      # CoolNews from the Financial Times!
                                                      *'"''~1.\l        Growing
                                                                            . Companies
                                                      '""'                                    Liked by David ] obiing
                                                      ,tattsta ~




                                                                                              To all my Chinese connections, Happy New Year!
                                                                                              Liked by David ] obiing




                                                       Native Mobile Apps
                                                       & Web Portals
                                                       °""'-,....,__,_,
                                                                   ..
                                                       -""'""' ,.-.....,_,.,_,
                                                                                 11           Because the digital thread doesn't end at the office
                                                                                              door. #productlifecyclemanagement
                                                                                              # processim provem ent # product! ifecycl e
                                                       ---·-"                    I
                                                                                              # digitaltransformation ...
                                                                                              Liked by David ] obiing




                                                                                              Thanks for the pre.ss from our friends at the efactory
                                                                                              ! https: // lnkd.in/ gReSxSs
                                                                                              Liked by David ] obiing




                                                                                              Super happy about my team winning
                                                                                              # teamOfTheMonth Hard work and dedication paid
                                                                                              off!
                                                                                              Liked by David ] obiing
                                                                                      Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 11 of 30 Page ID
                                                                                                                       #:2225
David ) obiing - Warwick, England, United Kingdom I Professional Profile I Linkedln
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28-02-2022
Page 4




                                                      View David's fu ll profile
                                                      a:, See who you know in common

                                                      ia. Get introduced
                                                      & Contact David directly


                                                      (   Join to view full profile )



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                                                 Language v-
Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 12 of 30 Page ID
                                 #:2226




                      EXHIBIT A-3
                                                                               Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 13 of 30 Page ID
                                                                                                                #:2227
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28-02-2022
Page 1




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                                                                                                                                                               People also viewed
                                                                                                                                                               ,. f!I , SenthilKumaran Padmanabhan
                                                                                                                                                               ~ Associate Director- Delivery at Sensiple
                                                                                                                                                                               Chennai

                                                                                                                                                                               Smriti Nagvanshi
                                                                                                                                                                               HR business partner-UK at Tata
                                                                                                                                                                               Technologies at Tata Technologies
                                                                                                                                                                               Leamington Spa

                                                                                                                                                               ~ Suresh Pillai
                                                                                                                                                               . . . Senior Project Manager at FIS
                                               Hemant Kulkarni                                                          FIS
                                                                                                                                                                               Pune
                                               Automation Testing, RPA, System Analyst, Environ ment
                                                                                                                        Walchand College of                                    Prashant Kaushik
                                               Manager                                                             •    Engg,Sangli                                            I nformation Technology Security
                                               Pune, Maharashtra, India · 500+ connections                                                                                     Specialist at FIS
                                                                                                                                                                               Las Vegas Metropolitan Area
                                                   Join to connect
                                                                                                                                                                               Radha Nagalakshmi
                                                                                                                                                                               Lead and Architect I ADAS SW I Jaguar
                                                                                                                                                                               Land Rover
                                               About                                                                                                                           Bengaluru

                                               Business Analyst with 10+ years of experience in manufacturing,IT sector.Worked as a Test Lead in                               Shruti Chadda
                                               projects. Ui path developer advanced certified. Communicate effectively with stakeholders and write                             SAP MM Team Lead at Tata Technologies
                                               good requirements.Like to work with positive,innovative and dynamic people to serve best of my ability                          Mumbai
                                               and skills.
                                                                                                                                                               1u,__           Christopher Marsh BSc, PgDp,
                                                                                                                                                                               MCIPS
                                                                                                                                                                               Senior STA Engineer I Supplier
                                               Act ivity                                                                                                                       Development at Jaguar Land Rover I ndia
                                                                                                                                                                               Pune

                                                                                    Looking for Android developer/ College passout who                                         Naresh Putheti
                                                                                    worked on Android development. Please OM me if                                             Senior RPA Developer at Dell EMC
                                                                                    anyone is interested.                                                                      Bengaluru
                                                                                    Posted by Hemant Kulkarni                                                                  vinayak patil
                                                                                                                                                                               Account Manager at Sandeepa Power
                                                                                                                                                                               Li nes
                                                                                                                                                                               Pune

                                                                                    Photo                                                                                      Jay Shah
                                                                                                                                                                           I
                                                                                    Liked by Hemant Kulkarni                                                                   Project Manager - Business I ntelligence
                                                                                                                                                                               Solutions
                                                                                                                                                                               Thane

                                                                                                                                                               Show more profiles v-

                                                                                    Although #Python is dynamically typed language
                                                                                    you should always add type hints/ checks i.e. specify
                                                                                                                                                               Others named Hemant
                                                                                    what type of input your variable expects & what ...
                                                                                    Liked by Hemant Kulkarni                                                   Kulkarni
                                                                                                                                                                               Hemant Kulkarni
                                                                                                                                                                               Renal Physician at Royal Perth Hospital
                                                                                                                                                                               Greater Perth Area
                                               (   Join now to see all activity )
                                                                                                                                                                               Hemant kulkarni
                                                                                                                                                                               General Manager Corporate IT
                                                                                                                                                                               Pune
                                               Experience
                                                                                                                                                                               HEMANT KULKARNI
                                                          Test Lead                                                                                                            Sa les Engineer at SMC CORPORATION
                                                          FIS                                                                                                                  I NDIA PVT LTD

                                                          Jun 2021 - Present · 9 months                                                                                        Au rangabad

                                                          Pune, Maharashtra, India                                                                                             Hemant Kulkarni
                                                                                                                                                                   .. ~ Dy, Gen, Manager at Raman & Weil pvt
                                                         Jaguar Land Rover                                                                                              Ltd,
                                                         6 years 1 month                                                                                                       I ndia

                                                                                                                                                               241 others named Hemant Kulkarni are on
                                                   •     QA Environment Manager
                                                         Mar 2019 - Present · 3 years                                                                          Linkedin

                                                         Pune, Maharashtra, India
                                                                                                                                                                           See others named Hemant
                                                         ! .Maintaining a central repository of test-environments of Configit Ace in scope with their latest
                                                                                                                                                                                   Kulkarni
                                                         version and connectivity details (Information management)
                                                         2.Allocation of test environments (booking/ scheduling) to teams as per requirement. (Demand
                                                         management)                                                                                           Add new skills wit h t hese
                                                         3.Creation of new test environments as per requirement. (Supply management)
                                                         4.Environment Monitoring (Monitoring)
                                                                                                                                                               courses
                                                         5.Deleting/ updating outdated test-environments and its details (Housekeeping)                                   ~I      =9
                                                         6.Preliminary invest igation of issues on the environment and sometimes co-ordination till an             g>- ~ •              Software Testing: Tools
                                                         issue resolution
                                                         7. Test Data refresh to ensure that test data is available to testers when needed via a TOM tool          ft.(J         •-     Software Testing
                                                         or test data refresh from other environments                                                          V                        Foundations: Bug Writing
                                                         Show less ..-...                                                                                                               and Management

                                                                                                                                                                                        Software Testing

                                                   •     Test Lead                                                                                                                      Foundations: Test
                                                                                                                                                                                        Management
                                                         Feb 2016 - Mar 2019 · 3 years 2 months
                                                         Coventry, United Kingdom
                                                                                                                                                               (     See all courses )
                                                         Key Learning :
                                                         • Designing the Test Strategy, Test plans and testing documents for SIT, UAT & Regression
                                                         testing.                                                                                              Hemant's public profile badge
                                                         • Ensure testing time & effort estimation, testing progress reporti ng and defect management
                                                         act ivities.                                                                                          Include this Linkedin profile on other
                                                         • Preparation of test data, test scenarios/ cases and execution of tests.                             websites
                                                         • Liaise with all the stakeholders and project management resolve all testing issues and to lead
                                                         daily status and defect calls, and triaged defects with proj ect team.
                                                         • Conducting workshops and sessions with all the stakeholders and application team to
                                                                                                                                                                         J.'\ Hemant Kulkarni
                                                                                                                                                                     •           Automation Testing, RPA, System
                                                         understand, analyze and freeze the testing scope, plan and schedule etc.                                                Analyst, Environment Manager
                                                         Show less ..-...
                                                                                                                                                                     '         Test Lead at FIS


                                                   •     Test Lead                                                                                                   .,        walchand College of Engg,Sangli
                                                         Feb 2016 - Feb 2017 · 1 year 1 month
                                                         Coventry, United Kingdom                                                                                   ( View profile                           LinkedU:,
                                                         Key Learning :
                                                         • Preparation of the Test Strategy, Test plans and testing documents for SIT, UAT & Regression
                                                                                                                                                               (     View profile badges )
                                                         testing.
                                                         • Ensure testing time & effort estimation, testing progress reporti ng and defect management
                                                         activities.
                                                                                  Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 14 of 30 Page ID
                                                                                                                   #:2228
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28-02-2022
Page 2




                                                        • Preparation of test data, test scenarios/ cases and execution of tests.
                                                        • Liaise with all the stakeholders and project management resolve all testing issues and to lead
                                                        daily status and defect calls, and track defects with project team.
                                                        • Conducting workshops and sessions with all the stakeholders and application team to
                                                        understand, analyze and freeze the testing scope, plan and schedule etc.
                                                        Show less ......




                                                ■
                                                         Business Analyst
                                                         Tata Technologies
                                                         Dec 2014 - Mar 2019 · 4 years 4 months
                                                         Coventry, United Kingdom
                                                         • Continuous communication with the customer and understanding the business
                                                         requirements
                                                         • Analysis of business requirements and split in functional requirements
                                                         • Identification of the test cases with its success criteria
                                                         • Preparation of functional Requirements specification
                                                         • Database design
                                                         • Impact analysis of enhancements
                                                         • Root cause analysis
                                                         • Design the solution and creation of high level technical requirements
                                                         • Address the queries of development team across the development phase.
                                                         • Creation of test plan, test strategy
                                                         • Conduction of System integration testing
                                                         • Conduction/Support of user acceptance testing
                                                         Show less ......




                                                ■
                                                         SAP automation testing consultant
                                                         Tata Technologies
                                                         Aug 2013 - Aug 2014 · 1 year 1 month
                                                         Coventry, United Kingdom
                                                         SAP Automation Testing Proj ect




                                                ■
                                                         Solutions Developer
                                                         Tata Technologies
                                                         Jul 2010 - Aug 2012 · 2 years 2 months
                                                         Pune
                                                         worked in TATA Motors,Ahmedabad for implementation of Manufacturing Execution System .
                                                         Worked in TATA Motors,CVBU ,Pantnagar for for implementation of Manufacturing Execution
                                                         System .



                                               Education
                                                         Walchand College of Engg, Sangli
                                                         B.E · Information Technologies




                                               Licenses & Certifications


                                                ■
                                                         UiPath RPA developer Advanced
                                                         UiPath
                                                         Issued Feb 2020
                                                         Credential ID S3R2DWCCC2E1QNGS




                                               Projects
                                                MES for TATA Motors, Sanand
                                                Jul 2010 - Aug 2011
                                                One of the biggest MES project in India.
                                                Implemented Functionalities like Tracking,Error Proofing,QMS,Test data collection,Reporti ng etc.

                                                Technologies Used :
                                                Factory Talk Production Center
                                                Factory Talk Integrator
                                                Factory Talk Vantage Point
                                                SQL Server 2005




                                               Languages
                                                English
                                                ProfessionaI working proficiency


                                                Hindi
                                                Fu II professiona I proficiency


                                                Marathi
                                                Native or bilingual proficiency




                                               Groups
                                                liii::: MES - Manufacturing Execution Systems
                                                       1
                                                         Walchand College Of Engineering Sangli



                                                         Manufacturing Execution System Professionals



                                                         Walchand College of Engg, Sangli Alumni



                                                         UiPath Leaders - India




                                               Recommendations received
                                                                                                                Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 15 of 30 Page ID
                                                                                                                                                 #:2229
Hemant Kulkarni - Test Lead - FIS I Linkedln
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28-02-2022
Page 3




                                                                        Linkedin User
                                                                       "It was with great pleasure working with Hemanth for 5 years and found him to be very
                                                                       competent, pro-active, committed, and flexible for taking on new challenges and
                                                                       responsibility. He was one of the most trusted team members. He is very organized,
                                                                       technical, and highly regarded by all his peers. His business knowledge combined with
                                                                       technical skills makes him an asset to any team. "



                                                                        Vishal Kulkarni
                                                                       "I worked with Hemant for MES implementation project in 2010. He was very dedicated for
                                                                       work and eager to learn new things. He was very good asset for our team. "



                                                     4 people have recommended Hemant


                                                     (     Join now to view )



                                                     More activity by Hemant

                                                                                                                   From machine learning to computer vision, deep
                                                                                                                   learning to virtual assistants, autonomous vehicles
                                                                                                                   to robotics and more, Shell has been focused on a ...
                                                                                                                   Liked by Hemant Kulkarni




                                                                                                                   Photo
                                                                                                                   Liked by Hemant Kulkarni




                                                                                                                   Namaste Pune! #google #india
                                                                                                                   Liked by Hemant Kulkarni




                                                         Fis                             "          ~ FIS was just named to Fortune magazine's 2022
                                                                                                      Most Admired Company list! The FORTUNE study
                                                                                                                   measures companies with the strongest reputation
                                                                                       ~ {,;,~.0
                                                                                                                   within ...
                                                         FIS NAMED~~                                  ;.·          Liked by Hemant Kulkarni




                                                                                                          m        True..... .
                                                          r,,. nev•r ,.feet~ eonwon• b•Nd on                       Liked by Hemant Kulkarni
                                                          leek of akNla and experlHtee or car. .,
                                                          gaps.




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                                                                                                     t-
                                                                                                                   Liked by Hemant Kulkarni

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                                                                                                          I
                                                                                                                   Congratulations to our Chairman N. Chandrasekaran
                                                                                                                   on receiving the # PadmaBhushan this
                                                                                                                   # RepublicDay. He has been conferred with one of
                                                                   PMtmai Bh u1oh.1n
                                                                                                                   India's highest ...
                                                                   "-·-   --
                                                                   N. Chandrasekaran
                                                                               ..                                  Liked by Hemant Kulkarni



                                                                                                                   I am happy to announce that I am starting my new
                                                                                                                   job with Fiserv. I received my joining kit and am
                                                                                                                   excited to be part of the Fiserv family. Looking ...
                                                                                                                   Liked by Hemant Kulkarni




                                                     •                      12g:
                                                                                       __,
                                                                                                                   Everyone, you will ever meet know something you
                                                                                                                   don't. Shikuyaa is presenting 20 eminent speakers
                                                                       DAILY        C LIVE                         you can learn from. Join from 26th January and ...
                                                          ::: SHIKUYAA CA MPUS                                     Liked by Hemant Kulkarni
                                                          ... PLACEM ENTS T20




                                                                                                                   This May I 'll be completing 10 years in the software
                                                                                                                   industry. The best advice I've received till date is
                                                                                                                   "Ask questions, sometimes you might look...
                                                                                                                   Liked by Hemant Kulkarni




                                                                                                                   Just incase if you're struggling to decide to switch or
                                                         Switching job or staying In same                          not:) # job # jobswitch #jobchange #connections
                                                         company is your choice. Money                             # developer #corporate # fresher #experience
                                                         factor is important , none can
                                                         denie that But the main goal                              Liked by Hemant Kulkarni
                                                         should be happiness and mental




                                                                                                                   Photo
                                                                                                                   Liked by Hemant Kulkarni




                                                                                                                   Microsoft Certified: Azure Fundamentals was issued
                                                                                                                   by Microsoft to Jaydeep Karale.
                                                                                                                   Liked by Hemant Kulkarni
                                                                                         Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 16 of 30 Page ID
                                                                                                                          #:2230
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28-02-2022
Page 4




                                                                                               Tag the person in your team who can do these kinds
                                                                                               of fixing QJ #fun #funfridaycomingearly
                                                                                               #softwareengineers #data scientist #dataanalyst...
                                                                                               Liked by Hemant Kulkarni




                                                                                               Achieved Oracle Cloud Infrastructure Architect
                                                                                               Associate certification #oracle #cloud
                                                                                               #infrastructure #architect !!
                                                                                               Liked by Hemant Kulkarni




                                                                                               Congratulations To TATA Motors team and proud
                                                                                               moment for TATA Group! #TATA #Tatagroup
                                                                                               #tatamotors
                                                                                               Liked by Hemant Kulkarni




                                                         View Hemant's full profile
                                                         a:, See who you know in common

                                                         ia. Get introduced
                                                         & Contact Hemant directly


                                                         (    Join to view full profile )



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Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 17 of 30 Page ID
                                 #:2231




                      EXHIBIT A-4
                                                                                            Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 18 of 30 Page ID
                                                                                                                             #:2232
Simon Packman PMP - IT Programme Manager - Jaguar Land Rover I Linkedln
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28-02-2022
Page 1




                                          Linkedfm                                   People •    Simon                                  Packman PMP                                            Join now       (    Sign in )



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                                                                                                                                                                                     Kent Packman
                                                                                                                                                                                     Sa lesforce Solution Architect at Aston
                                                                                                                                                                                     Martin Lagonda Ltd
                                                                                                                                                                                     Greater Coventry Area

                                                                                                                                                                                     Tim Oberg
                                                                                                                                                                                     Strategic Director, Asia Pacific at parkrun
                                                                                                                                                                                     Airlie Beach, QL

                                                                                                                                                                                     Francesca Ellicott
                                                                                                                                                                                     Product Specialist IT Finance at Jaguar
                                             Simon Packman PMP                                                               - •   Jaguar Land Rover                                 Land Rover
                                             IT Programme Manager at Jaguar Land Rover                                                                                               United Kingdom
                                             Greater Coventry Area · 500+ connections
                                                                                                                                                                                     Anamika Bhargava
                                                                                                                                                                                     IT Service Architect at Jag uar Land
                                                    Join to connect                                                                                                                  Rover I Finalist Midlands Women in Tech
                                                                                                                                                                                     I Diversity Champion
                                                                                                                                                                                     Coventry

                                             About                                                                                                                                   Mark Reynolds CITP MBCS
                                                                                                                                                                                     Senior IT Portfolio Manager I ITIL 4
                                             A disciplined PMP Cert ified project manager; leading and motivating others across a diverse geographical
                                                                                                                                                                                     Strategic Leader
                                             and cultural mix. Leveraging team skills and knowledge to meet proj ect charter deliverables while closely
                                                                                                                                                                                     United Kingdom
                                             managing stakeholder expectations and concerns to build confidence and support for change. Strategic
                                             and creative problem solving taking measured risks to meet the challenges of changing critical path                        Q            Alexandar Toromanov
                                             within fi nancial and resource constraints. Exploiting technologies and opportunit ies through managed             '@ Head of Manufacturi ng Processes ON at
                                             change control process to the benefit of the project and stakeholders.                                                                  Siemens Gamesa
                                                                                                                                                                                     Aarhus V

                                                                                                                                                                                     Andrew Wainwright
                                             Activity                                                                                                               •                Business Strategist
                                                                                                                                                                                     City of Johannesburg

                                                                                                                                                                                     Shovan Chatterjee
                                                                                                PreBilt™ can help your digitise your # SAP supply
                                                                                                chain in a matter of days. Find out more here                                        Project Manager(Mobility), Pri ncipal
                                                                                                                                                                                     Technica l Consultant at SAP
                                                                                                https:/ / lnkd.in/ em47Aiih
                                                                                                                                                                                     Warrington
                                                                                                Liked by Simon Packman PMP
                                                                                                                                                                                     Eddie Pratt
                                                                                                                                                                           '         Local IT Guy Ltd - IT Consultancy /
                                                                                                                                                                                     Support and Project resource.
                                             This is Joe.
                                             Joe wants to order a cake.              ,.,                                                                                             Leicester
                                             Joe knows that a freshly l>al<:eq.i.~              Thought this was funny and felt like I have been Joe
                                             custom cake with 3 tiers                                                                                                                Bala Raghavan
                                             deooraled to yoor exact                            on occasion ...
                                             specifications, will cost more
                                             than a cake from Tesco.                            Liked by Simon Packman PMP                                                           SAP Pri ncipal Consultant at Beacon
                                                 Joe's right.                                                                                                                        Business Solutions
                                                                                                                                                                                     Chennai

                                                                                                                                                                Show more profiles v-
                                                                        CERTIFIED

                                                                        .... .....••
                                                                       A.SSOCIATE

                                                                  ,__.,._,,_.,._,_
                                                                            ,                   View my verified achievement from SAP SE .
                                                                                                Liked by Simon Packman PMP                                      Add new skills wit h t hese
                                                            -   ~-        .,...   ..
                                                                                 ..,...
                                                                           ,.. ...,
                                                                                                                                                                courses
                                                                                                                                                                                          ' Outsourcing: Managing
                                                                                                                                                                                            Service Transition
                                             (      Join now to see all activity )
                                                                                                                                                                                            Operations Management

                                                                                                                                                                IL.!.........!!
                                                                                                                                                                                            Foundations

                                             Experience                                                                                                             "-' Ji_~~ Modernizing the Service
                                                            Jaguar Land Rover                                                                                       l" -       .ff          Desk

                                                            4 years 8 months
                                                                                                                                                                (        See all courses )
                                                    •       IT Programme Manager
                                                            Feb 2020 - Present · 2 years 1 month
                                                                                                                                                                Simon's public profile badge
                                                    •       IT Build & Test Delivery Lead                                                                       Include this Linkedin profile on other
                                                            Jul 2017 - Feb 2020 · 2 years 8 months                                                              websites
                                                            UK
                                                            Leading a portfolio of key partners using a mix of on/off shore industrialised delivery model,
                                                                                                                                                                                       Simon Packman PMP
                                                            delivering build, integration & test services across a complex automotive industry focused SAP                             IT Programme Manager at Jaguar
                                                            and Digital eco-systems.                                                                                                   Land Rover


                                                                Project Manager - SAP
                                                                IBM
                                                                                                                                                                        --       IT Programme Manager at Jaguar
                                                                                                                                                                                 Land Rover


                                                                                                                                                                        ( View profile                              LinkedU:,
                                                                Jun 2014 - Jul 2017 · 3 years 2 months
                                                                United Kingdom
                                                                                                                                                                (        View profile badges )
                                                                Working collaboratively with clients on key SAP proj ects using my experience, skills and
                                                                knowledge to deliver solutions that meet the needs and deliver value with tangible benefits
                                                                to the client and it's customers.




                                             ■•
                                                            Rockwell Automation
                                                            6 years 6 months

                                                            Project Manager Sub Projects
                                                            Oct 2012 - May 2014 · 1 year 8 months
                                                            Global Rollout
                                                            Successfully leading a small team within EMEA region to deliver several SAP technology and
                                                            business transformation capability releases across ot her key regions (South Africa, SEA, China
                                                            & India) as part of a global rollout.


                                                    •       SAP CRM Services Lead (EMEA)
                                                            Oct 2008 - Sep 2012 · 4 years
                                                            Global Rollout
                                                            Successfully leading a small team within the EMEA region to deliver as part of a global rollout a
                                                            major SAP technology and business transformation capability release.

                                                    •       SAP Business Readiness Manager
                                                            Dec 2007 - Oct 2008 · 11 months
                                                            EMEA
                                                            Coordinated and managed the business readiness activities and stakeholder engagement to
                                                            successfully deploy the project scope.


                                                                Head of Services
                                                                Serck Controls Ltd
                                                                Jul 2006 - Nov 2007 · 1 year 5 months
                                                                UKI
                                                                            Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 19 of 30 Page ID
                                                                                                             #:2233
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28-02-2022
Page 2




                                                       Reporting directly to the Operations Director, my role was responsible for the successful
                                                       delivery and financial performance of a £2.7m PA Service Department in 2 geographic
                                                       locations (Coventry and Luton).

                                                       Worked closely with customers and the senior management team to develop and deliver
                                                       new and key
                                                       service offerings. I was responsible for managing the day to day running of the department
                                                       and any suppmt escalations from either customers or project teams. My team delivered
                                                       remote technical support along with field based engineering support and small proj ect
                                                       deliveries up to f l00K. Delivering a full asset repair service and application software support
                                                       and management services. I successfully introduced a new serv ice based on managing the
                                                       deployment of operating system updates from Microsoft and other OS providers. Managing
                                                       the annual operational costs, achieving the revenue targets of which I surpassed
                                                       significantly in both areas. Through my leadership I drove the team performance and
                                                       customer satisfaction collectively with the introduction of proactive feedback post serv ice
                                                       delivery.
                                                       Show less ..-...




                                              ■
                                                       Asset Management Specialist
                                                       Rockwell Automation
                                                       May 1998 - Jul 2006 · 8 years 3 months
                                                       UKI
                                                       Reporting directly to the Business Development Manager; my role was responsible for the
                                                       development of customer support and maintenance solutions throughout the UK, Eire and
                                                       Europe. Specifically focused around customers Maintenance and Repair Operations (MRO)
                                                       working with the customer to assess their current operational model and making
                                                       recommendations through delivery of specific Rockwell services contracts how they could
                                                       reduce their operational costs and improve production uptime along with reductions of
                                                       carrying significant maintenance related inventory such as spares and consumable parts.
                                                       During this role I spent 6 months starting up and maintaining this service offering in Eire
                                                       based in Dublin.
                                                       Show less ..-...


                                                       Senior Systems Engineer
                                              1431 I
                                              ---·- EMI Music
                                                       Mar 1992 - May 1998 · 6 years 3 months
                                                       Working in the UK automated distribution centre



                                             Licenses & Certifications

                                                       Project Management Professional
                                                       Project Management Institute
                                                       Issued Mar 2016 · Expires Mar 2022




                                             Projects

                                              Logistics Operations Centre - Solihull
                                              Feb 2020 - Present
                                              Delivering the IT systems and network infrastructure of a new greenfield site 92,000 square meter
                                              logistics warehouse supplying manufacturing sites using SAP EWM at its core integrated with mobile
                                              user devices and a 40,000 square meter Automated Storage & Retrieval System. Also integrated with
                                              the exist ing legacy manufacturing systems. Utilising a SAP data extract tool Atunity to transfer
                                              logistics data into a google cloud data lake for reporti ng and analysis

                                              See project e


                                              Automotive Features & Configuration Tool Transition
                                              Nov 2018 - Feb 2020
                                              The replacement of a legacy application used for PLM 3D configuration rules management with a
                                              new platform ACE supplied by Configit ltd. My focus of operation was to take an existing team
                                              manually executing ACE regression testing scripts and managing test life cycle with a home grown
                                              bespoke database. And transition to a fully automated regression test pack managed on the HP ALM
                                              platform using Selenium as the automation test tool. The transition took place over several months
                                              to an initial fully automation regression pack that was able to be executed in a few days with very
                                              little resource input. This was a massive productivity improvement in terms of time and cost to
                                              execute. Transitioning the test life cycle management to the HP ALM platform also increased quality
                                              of service and brought the process into an enterprise supported application. The team then focused
                                              on optimisation of the test scripts to drive even more efficiencies and preparing the way to transition
                                              the final model into a BAU service delivery model for long term operation
                                              Show less ..-...


                                              See project e


                                              GE Manufacturing Execution System Automated Testing
                                              Nov 2019 - Feb 2020
                                              This project was focused on finding an automated regression testing solution to support the
                                              application life cycle management of the GE MES solution across the JLR planets. Currently the
                                              approach was a very manual intensive test execution model. Working with the core MES team we
                                              start ed the project with a Proof of Concept approach to develop a small scale automated test
                                              solution based on HP ALM and UFT to establish if it was technically possible to achieve the desired
                                              end to end test scenarios. The POC was successfully concluded and this then moved to the second
                                              stage to expand the scope and volume of scenarios to be automated. The team are now
                                              industrialising the process and working towards a full scope automated regression pack. This will
                                              deliver significant long term cost savings and improve quality of deployments.
                                              Show less ..-...


                                              New Car Online Sales Web Portal
                                              Jan 2019 - Feb 2020
                                              To support the deployment of a new car online sales pmt al project, I worked with the project
                                              delivery team to create an effective test strategy that was based around introduction of test
                                              automation. The key goal was to deliver a cost effective and efficient automated regression and
                                              performance test pack that focused on running through the end to end online customer journey to
                                              ensure as changes were deployed the site remained fully functional. The pack delivered was run on
                                              a daily basis ensuring when a change was ready to be deployed there was no delay waiting for test
                                              results before deployment. The end result delivered significant savings in manual test ing and also
                                              captured key issues before deployment to the live site.
                                              Show less ..-...


                                              See project e
                                                                            Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 20 of 30 Page ID
                                                                                                             #:2234
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28-02-2022
Page 3




                                              SAP Automotive Manufacturing Plant in Nitra Slovakia
                                              Sep 2017 - Feb 2020
                                              Green field site delivered all of the SAP application build & unit test to support a brand new
                                              European automotive car manufacturing plant utilising SAP ECC, EWM, APO & GTS in addition to
                                              integrating other 3rd party systems. Post go live my focused changed to be an incident manager to
                                              provide the required focus on daily operational SAP issues, triage, prioritisation, RCA & resolution
                                              driving stability as the plant volumes grew. The later 10 months my role moved to SAP release
                                              management taking over monthly SAP deployments I focused on the delivery of build & test to drive
                                              a team to deliver weekly deployments which delivered benefits more quickly to drive furt her
                                              stabilities and support a significant rate of production volume climb. Finishing with the successful
                                              transition of the new Land Rover Defender into volume production
                                              Show less ,..,,


                                              See project e


                                              SAP Payroll Integration to NGA & Kronos
                                              Sep 2017 - Jul 2018
                                              Multi Plant SAP payroll integration through middle ware file transfers from SAP to two different 3rd
                                              Party payroll service providers NGA & Kronos

                                              Position Explorer
                                              Jul 2017 - Oct 2017
                                              SAP build and test delivery of a Web UI front end interactive organisation structure navigation tool
                                              using SAP HR data ext racts and transfer over a secure fi le transfer through a middle ware
                                              application.

                                              Concur Travel and Expenses Integration to SAP ECC (FIN / HR) via PI
                                              Dec 2016 - Jun 2017
                                              Design build, test and delivery of 7 key SAP PI fi le transfer interfaces between two SAP ECC
                                              instances for FI and HR to support the Clients business and system transformation to using the
                                              Concur cloud based expenses, advances and travel system. The interfaces include transfer from SAP
                                              to Concur of Employee, Cost Object CC - WBS, WBS Approvers, Exchange Rates and Payment
                                              Confirmation Data, and transfer from Concur to SAP expense claims and advances data for postings
                                              and payments in SAP, also including a data extract from Concur Cognos to feed into SAP BW/BO for
                                              report ing and dashboards.

                                              Key design feature is the automatic posting of expenses and clearing of employee advance down
                                              payments against the expenses submitted from Concur.
                                              Show less ,..,,


                                              Utility Customers Online Digital Enablement
                                              Sep 2015 - Nov 2016
                                              Project Manage a design & delivery team of onshore functional / technical consultants with off shore
                                              developers. Delivering SAP CRM, ISU & PI enhancements including web serv ices to support the
                                              customer user growth and enhancing online journey engagement of the Clients Website & Mobile
                                              Media road map. Delivery was based on a fixed capacity model and required a close waking
                                              relationship with the Client to enable a controlled and steady stream of project deliverables to
                                              maximise the fixed capacity of the delivery team. Successfully delivered the agreed capacity within
                                              the project time lines, which released significant benefits to the Client and it's customers.
                                              Show less ,..,,


                                              See project e


                                              Data Migration & Small Change Projects Manager SAP
                                              Nov 2014 - Aug 2015
                                              Post cutover my role changed to support the planning and delivery of mass migration of the
                                              traditional meter business into the new systems. The progressive extract, transformation and load of
                                              over 3 million meter asset records from legacy systems into new SAP Work and Asset Management
                                              system and SAP CRM/ISU for customer management, meter reads and billing.
                                              Established a small transitional team to enable the ongoing support of the newly deployed systems
                                              and functionality. Then transitioned the team into the BAU support model consisting of onshore and
                                              offshore teams. As well as managing a 3rd party supplier of the field scheduling software and mobile
                                              application to deliver support as well as small change enhancements.

                                              Working with the Client I identified a risk of insufficient meter point data to ensure continued rolI out
                                              of the SMART meter program which if not addressed would result in reduced capacity and efficiency.
                                              To mitigate this I planned in an additional strategic migration of 125K meter points which was
                                              successfully delivered and included changing the methodology of data migration specific to meet the
                                              SMART meter only deployment requirements. The main migration plan was also delivered to enable
                                              the Client to continue to implement it's business strategy for SMART and Traditional meter roll out in
                                              order to achieve the planed business benefits. Using my knowledge and skills I provided operational
                                              guidance to the Client to streamline and improve the deployment process, which resulted in an
                                              increased ut ilisation of the field force resources. Managed the delivery of small change requests and
                                              control of the project budget, working with the client following a formal change process to ensure
                                              changes delivered had a solid business and technical case. Coordinating internal and external
                                              supplier teams to deliver and meet the target release dates given.
                                              Show less ,..,,


                                              Phase 2 SMART Meter UK Deployment
                                              Jun 2014 - Oct 2014
                                              Project Manage the combined business and system cutover activities of the SMART metering system
                                              solution within a 10-week delivery time line. Main system landscape SAP CRM, ISU & PI interfacing
                                              with external systems such as ClickSoftware, 3rd party logistics provider for field asset management
                                              services. Including deployment of new meter operative field based hand held terminals. Interfacing
                                              of Work Order deployment and outcome management to 3rd party meter install service providers.
                                              The extract, transformation and load of client and customer installed assets from legacy systems into
                                              new SAP Work and Asset Management System (WAM).
                                              Show less ,..,,


                                              Global Process Transformation - SAP Deployment & Business Process Change
                                              Oct 2012 - May 2014
                                              South Pacific, India & China - Test lead manager using HPQC to track and trace test delivery and
                                              progress. Using the tool to drive defect management and resolution. As in previous releases I
                                              continued to manage the legacy service data extract and transformation into SAP. Traveling to China
                                              to provide onsite support during cutover and hypercare focused on the repair serv ices process and
                                              inventory management of service stock. Working closely with the local users to ensure correct
                                              process and procedures are followed .

                                              Greater China & Poland - Leading the data extract and transformation of service repair orders and
                                              associated purchase orders, including the loading of all associated master and inventory data from
                                              legacy systems. Gap analysis to drive required localisation configuration changes. I was also
                                              responsible for decommissioning of local serv ice stock warehousing

                                              Lektronix Finance Back Office Deployment - Due to an acquisition of a 3rd party repair house I was
                                              responsible to deliver a solution to integrate the legacy systems of the acquired company to the new
                                              SAP global solution. Integration covered accounts payable and receivable as well as shopping cart ,
                                              travel & expenses functionality. Along with the setup of supporting cost & profit centers.
                                                                               Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 21 of 30 Page ID
                                                                                                                #:2235
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28-02-2022
Page 4




                                              South Africa - Leading delivery of all functional streams rolling out the global blueprint across South
                                              Africa and Sub-Sahara countries impacting ~ 250 employees. Working closely with the local 3rd
                                              party logistics provider to ensure a smooth transition for them adopting SAP sales and distribution
                                              module along with adj ustments to business process. The solution included both sales and
                                              Distribution along with Service Department and all back office functions such as Finance & Human
                                              Resources. Requiring 2 plants and 2 sales orgs setup for sales distribution and stock management
                                              and a second for field service and repair center delivery, inventory management and distribution.
                                              Show less ..-...


                                              Global Process Transformation - SAP Deployment & Business Process Change
                                              Dec 2008 - Sep 2012
                                              On 6th Feb 2012 successfully implemented SAP CRM Serv ices across Europe covering 45 sites in 18
                                              countries ~ 600 employees based on a principal and commissionaire financial model. The following
                                              scope was delivered.

                                              Plant & Asset Management Services - Asset repair & exchange services covering reverse logist ics,
                                              repair or replace, test and return to customer. Capture of repair components and labour hours
                                              consumed, failure analysis. Managed inventory both finished goods and component parts service
                                              stock in plant and remote managed consigned inventory on customer sites. I coordinated the
                                              decommissioning of all local serv ice stock holdings and return of physical stock to the European
                                              repair hub warehouse to be written into inventory during SAP go live.

                                              Field Engineering & Training Services - Resource management, scheduling, deployment with time
                                              and expenses capturing including small projects delivery based on fixed or drawdown costs

                                              Remote Technical Support Serv ices - Follow the sun support model using serv ice tickets to track and
                                              deliver and verify entitlement of support to a global customer base. Using follow-on activities to
                                              schedule engineers and or arrange exchange or repair serv ice goods

                                              Customer Care Order Management - Sale management and order entry for sales and distribution of
                                              finished goods from a single European warehouse integrated with 3rd party logistic provider

                                              3rd Party system EDI sales order interface - Creation of an EDI interface for a 3rd party system to
                                              transfer sales orders for the supply of maintenance and repair options serv ices on remote customer
                                              sites. This included the automatic triggering of outsourced material purchase orders.
                                              Show less ..-...


                                              Global Technical Customer Support SAP CRM Service Ticket Deployment
                                              Dec 2007 - Dec 2008
                                              Transition from a legacy technical customer support ticket system to SAP CRM serv ice tickets. I was
                                              responsible for the EMEA region business and project team stakeholder management and successful
                                              delivery of all the readiness activities to successfully deploy the solution in a single global go live.




                                             Organizations
                                              Project Management Institute

                                              Mar 2013 - Present




                                             Groups
                                              __
                                              SAP•l, SAP Management Professionals



                                                           SAP for Project Managers



                                                           SAP Training and Adoption - MENA



                                              -            ~ean Six Sigma



                                              l"'=i,;J SAP CRM

                                                           SAP HANA, SAP S/ 4HANA, SAP BW and SAP Cloud Platform Group



                                              T'Bes        IBM Big Data and Analytics
                                              ,1,,9,M.,




                                              w~           SAP Utilities and CRM Community



                                                           Future Trends



                                                           PMI Credentialed PMPs
                                              IPMPI


                                              ■
                                                           Rockwell Automation



                                             Show fewer groups ..-...




                                             Recommendations received

                                                          Morten Arve
                                                          " I have had the pleasure working with Simon for 3+ years at Rockwell Automation. During
                                                          this time, Simon has combined his Subj ect Matter Expert skills and SAP ECC/CRM knowledge
                                                          to deliver complex and innovate solutions for the EMEA After Sales Services Business
                                                          including Service Contracts, Warranty Management, Repair and Exchange transactions, and
                                                          Store Room Management. Simon has excellent inter-personal skills and a positive demeanor.
                                                          He is always approachable and willing to take ownership of critical tasks. Furthermore, he
                                                          has an outstanding ability to engage the business and is able to multitask under very
                                                          challenging circumstances. Any company would benefit to have Simon as part of their SAP
                                                          implementation. I would personally like to be on the same team as Simon anytime."
                                                                                                 Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 22 of 30 Page ID
                                                                                                                                  #:2236
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28-02-2022
Page 5




                                                              Damian Cercone
                                                              "Simon is a talented business readiness manager who understands both the details of the
                                                              business operations as well as maintains a strategic view of key issues. He is adept at
                                                              balancing management oversight and counsel while allowing his team to work independently.
                                                              I would welcome the opportunity to work with him anytime."



                                             3 people have recommended Simon


                                             (     Join now to view )




                                             More activity by Simon

                                                                                                      Looking forward to introducing PreBilt on our
                                                  Join the PteSitt~mo, ement                          partner (S4A IT Solutions (SPRO Group)) webinar
                                                  Lffl1h_, l . . . _,gD
                                                                                                      next week. If you are in N.America and are using ...




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                                                    Clu b                 Drt.111-.      Order
                                                                                                      volunteers which makes it possible.
                                                                                                      Shared by Simon Packman PMP
                                                   25

                                                                 SAP CERTIFICATIO N                   A huge Friday shoutout to Niamh King who has
                                                                                                      recently passed her SAP Activate Project
                                                                                CERTIFIED
                                                                               ASSOCIATE              Management certification! Niamh joined us last
                                                                                                      year as part...
                                                            SAP Activate ProJ~ct Manager
                                                                                                      Liked by Simon Packman PMP



                                                                                                      True progress doesn't happen overnight. It happens
                                                                                                      when vision, determination and know-how are
                                                                                                      combined are nurtured over time. Welcome to the ...
                                                                                                      Liked by Simon Packman PMP




                                                                                                      Revealing the #AMR22 to the world.
                                                                                                      # WeClimbTogether
                                                                                                      Liked by Simon Packman PMP




                                                                                                      Fancy joining our Graphic Design team!? D Check
                                                                                                      out the link below for more information DD
                                                                                                      # graphicdesign #graphicdesigner # vacancyalert...
                                                                                                      Liked by Simon Packman PMP




                                                                                                      Customer demand is higher than ever for products to
                                                                                                      be delivered quickly, with 'next day' rapidly
                                                                                                      becoming the expected norm. This puts immense...
                                                                                                      Liked by Simon Packman PMP




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                                                   l'ftl Get introduced
                                                   & Contact Simon directly


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Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 23 of 30 Page ID
                                 #:2237




                      EXHIBIT A-5
                                                                                                        Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 24 of 30 Page ID
                                                                                                                                         #:2238
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                                                                                                                                                                                                     Tech Lead at Boomin
                                                                                                                                                                                                     West M idlands

                                                                                                                                                                                   •••               Dan Firth
                                                                                                                                                                                                     Divisio nal Sales Directo r at Purplebricks
                                                                                                                                                                                                     West M idlands
                                                           Andrew Butler                                                                     ■ Boomin
                                                           Engineering Manager at Boomin                                                                                                 ~ ) . Jo Bourne
                                                                                                                                             <f) Personal Website e'                     . , , Freelance Estate Agency Co nsulta nt and
                                                           Alvechu rch, England, United Kingdom • 254 co nnections
                                                                                                                                                                                                     Coach
                                                                                                                                                                                                     Greater Leeds Area
                                                                   Join to connect


                                                                                                                                                                                             lj      David Kavanagh
                                                                                                                                                                                                     Chief Technolo gy Officer and Techno logy
                                                                                                                                                                                                     Advisor
                                                           About                                                                                                                                     London
                                                           Full stack developer with over 13 yea rs' experience in Microsoft .NET languages. Extensive knowledge of
                                                                                                                                                                                                     Jam ie Dunstan
                                                           C#, web and client-side development. Strong focus on reusable, flexible and decoupled code utilising the
                                                                                                                                                                                                     Senior Soft ware Eng ineer at Unity
                                                           latest software patterns and practices. Quick to learn and assimilate new technologies and
                                                                                                                                                                                                     Redd itch
                                                           respo nsibilities. Strives to deliver quality, future-proof solutions withi n given timescales to maximise
                                                           profitability.                                                                                                                            Morgan Lane
                                                           Experience manag ing a team, improving develop ment processes, resolving customer issues and ensu ring                                    Senior Fu ll Stack Softw are Eng ineer at
                                                                                                                                                                                                     Boomin
                                                           high quality software releases.
                                                           Looking for a senior role within a software company to lead a development tea m wh ilst also keeping                                      Redd itch

                                                           hands on with software development.                                                                                                       Dharmendra Gour
                                                                                                                                                                                                     Subj ect Mat ter Expert, Cert ified Scrum
                                                                                                                                                                                                     Master
                                                                                                                                                                                                     Pune
                                                           Activity
                                                                                                                                                                                                     Craig Stewart
                                                                                                                                                                                                     Siemens level 6 Wind Turbine Technician
                                                                                                            Not posting a lot, but this is wort h it ! Trying to do some                             2.3 VS. Multi skill ed techn ician
                                                                                                            small good and raising money t o help people in Ukraine. If
                                                                                                                                                                                                     Perth
                                                                                                            you can donate or share this .. .
                                                                                                            Li ked by Andrew Butler                                                                  Wendy Gunton
                                                                                                                                                                                                     Business System Analyst
                                                                                                                                                                                                     Walston


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                                                                                                                                                                                         Butler
                                                                                                                                                                                                     And rew Butler
                                                                                                                                                                                                     Acad emy Head Co ach
                                                                                                            Cit Looking fo r recommendat ions <:it § I'd like t o speak
                                                                                                                                                                                                     Denver Metropo litan Area
                                                                                                            to a FREELANCE video ed itor/graphic designer • c:) to
                                                                                                            discuss working wit h Boomin a 6 week ...                                                And rew Butler
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                                                                                                                                                                                                     highest data recovery success rates for
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                                                                                                                                                                                                     Greater Sheffield Area

                                                                                                                                                                                                     And rew Butler
                                                                                                                                                                                                     Manag ing Directo r at Butler Plumbing
                                                           Experience                                                                                                                                Pty Ltd
                                                                                                                                                                                                     Fitzroy, VI
                                                                                   Engineering Manager
                                                                                   Boomin                                                                                                            And rew Butler
                                                                                   Oct 2020 - Present · 1 year 6 months                                                                              Sales Manag er at Brad ley Tank & Pipe
                                                                                                                                                                                                     Cleveland, TN
                                                                                   Birming ham, England, United Kingdom
                                                                                                                                                                                                     And rew Butler


                                                           ■•
                                                                                Config it                                                                                                            d irecto r at wheelhouse advisory
                                                                                8 years 7 months                                                                                                     Greater Melbourne Area


                                                                                Software Development Manager                                                                             1035 others named And rew Butler are on
                                                                                Dec 201 6 - Oct 2020 · 3 yea rs 11 months                                                                Linked In
                                                                                Warvvick, England
                                                                                I joined Configit in 2012 as a Senior Software Develope r and Tea m Lead to develop a brand-new          (   See others named Andrew Butler )
                                                                                enterprise Configuration Lifecycle Management software product, Configit Ace. The software is
                                                                                primarily an AngularJS and React SPA frontend with a .NET JSON web service backend with data
                                                                                stored in SQLServer.                                                                                     Add new skil ls w ith t hese
                                                                                I was instrumental in the design and architect ure of the product and was respo nsible fo r              courses
                                                                                developing a number of large featu res such as: introducing AngularJS as the client side
                                                                                framework, developing a module system to allow bes poke customer extensions to enhance the
                                                                                                                                                                                                               Learning Visual Studio Code
                                                                                web application, creating and maintaining the Cl/CD infrastructu re and creating automated
                                                                                deployments to Azu re, to name just a few.
                                                                                                                                                                                                               LI NQ with C# Essential
                                                                                I was promoted to Principal Sohware Developer and Solution Architect to formalise my ro le in
                                                                                designing and implementing the architecture of the product.                                                                    Training
                                                                                For the last 4 years, I have been the Development Manager of the Product tea m developing
                                                                                Configit Ace wh ich has become the co mpany's flagship product. Even though I now have line                          .,f-~. C# Framework Design
                                                                                                                                                                                                     tl
                                                                                management responsibilities, I am still responsible for the architecture of the product and stay
                                                                                close to the codebase with development and code reviews of my team. By staying up to date                (   See al l courses )
                                                                                with the latest technologies, I have been ab le to mentor my team to ensu re they are always
                                                                                lea rning and are continuously improving.
                                                                                I also meet with customers to advise them on the product, to provide su pport when issues are            Andrew's public profile
                                                                                raised and listen to their feedback and suggestions.
                                                                                                                                                                                         badge
                                                                                Show Iess "
                                                                                                                                                                                         Include this Linkedl n profile on other
                                                                                                                                                                                         websites
                                                                    •           Int erim Development Manager
                                                                                Feb 2016 - Dec 2016 · 11 months
                                                                                Warvvick, England                                                                                                      And rew Butler
                                                                                                                                                                                                       Engineering Manager at Boom in

                                                                    •           Soluti ons Architect
                                                                                                                                                                                             ■ Engineering Manager at Boom in
                                                                                Jan 2014 - Feb 2016 · 2 years 2 months
                                                                                Warvvick, England
                                                                                                                                                                                             V wp o le                                Linkedm!

                                                                    •            Senio r Softwa re Developer
                                                                                 Apr 2012 - Dec 2013 · 1 year 9 months                                                                   (   View profile badges )
                                                                                 Warvvick, England


                                                                                   Senio r Developer
                                                                                   NFOPP
                                                                                   Oct 2010 - Apr 2012 · 1 yea r 7 months
                                                                                   Warvvick, Warwickshire
                                                                                   My primary role at NFoPP was to design, architect and implement a modular CRM system to
                                                                                   store data for the company's membership and qualifications depa rtments in ord er to replace
                                                                                   two existing third-pa rty software packages. I was technical lead for a development tea m of 4
                                                                                   people. The application was built using .NET technologies including WPF, web services and
                                                                                   SQLServer. I designed the application to be a modular so each different department's
                                                                                   funct ionality could be dep loyed, updated and maintained in isolation.
                                                                                   Show less "
                                                                                                  Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 25 of 30 Page ID
                                                                                                                                   #:2239
Andrew Butler - Engineering Manager - Boomin I Linkedln
https:/ /uk.linkedin.com/in/butlerat
03-30-2022
2




                                                                           Asidua
                                                                            3 years 1 month

                                                                 •          Engineer
                                                                           Ju l 2009 - Oct 2010 • 1 year 4 months
                                                                           Shirley, Eng land, United Kingdom
                                                                           I was recognised as the leading .NET developer within Asi dua due to my extensive .NET, web
                                                                           development and general tech nical knowledge. I was asked to lead the design and
                                                                           develop ment of Asidua's flagship product Customer Contact Platform. As part of the CCP
                                                                           project I led the co re developme nt team and was central to the product's success. This role
                                                                           requ ired me to visit customer sites to discuss requirements with the customer directly and to
                                                                           provide on-site support during the initial weeks of go live.
                                                                           I achieved a fast -track promotion to Enginee r grade due to my outstanding performance as a
                                                                           Graduate Engi nee r.
                                                                            Show less ,,.._


                                                                 •          Graduate Engineer
                                                                            Oct 2007 - Ju n 2009 · 1 year 9 months




                                                              ■
                                                                             IT/ Network Technician
                                                                             Culford School
                                                                             Ju n 2005 - Ju l 2006 · 1 year 2 months



                                                          Education


                                                              El
                                                                             Aston University
                                                                              BSc · Computer Science
                                                                              2003 - 2007




                                                          Recommendations rece ived

                                                                            Alasta ir Christie
                                                                           "A one-man software development army, Andrew's ability to rapidly solve problems and
                                                                           reta in intricately detailed knowledge is just spectacular. He uses his impressive skills to lead
                                                                           colleagues from the fore, acting as coach, mento r an d gu ide. Having seen Andrew work
                                                                           th rough technical challenges at scale, often handling complex process flows across multiple
                                                                           systems (in house and external), I remain in awe of his development abilities, and hugely
                                                                           reassured to see him helmi ng any delivery. Our customers found his presence equally
                                                                           reassuring, and would ohen specifically request his input when attempting to resolve
                                                                           technical questions."



                                                                           Bryan Lo rd
                                                                           "I've worked with Andrew th rough the good ti mes and more challenging ones, he is an
                                                                           amazingly intelligent, fo rward th inking individual who can solve any problems in the right
                                                                           way. He has excepti onally strong relationships with custo mers and internal stakeholders and
                                                                           was a vital cog in both a tea m and for the com pa ny"


                                                          3 people have recommended Andrew

                                                          (      Join now t o view )




                                                          More activity by Andrew

                                                                                                       "What do you want to be when you grow up?" ... &'J' ~ A
                                                                                                       question we've all been asked as kids, no doubt. I've seen a
                                                                                                       number of posts on Linkedin ...
                                                                                                       Liked by Andrew Butler




                                                                                                       Brillia nt visit to Exeter today. I can't tell you how delighted
                                                                                                       I am with the feedback Michael Bruce & myself are
                                                                                                       receiving from o u r agents ac ross ...
                                                                                                       Liked by Andrew Butler




                                                              A warm
                                                              ..... ___ _                --
                                                                                         -~---
                                                                                         -.
                                                              welcome
                                                                                                       Mo re agents joining Boomin! :D
                                                              . . ...............                      Liked by Andrew Butler




                                                                                                       Sometimes people come into your life and make a real
                                                                                                       diffe rence. This man has done so fo r Ben and we can't
                                                                                                       thank him enough. Thank you Kenny fo r a ll. ..
                                                                                                       Liked by Andrew Butler




                                                                                                       WOW 2022 is underway with a bang & is Boomin, a record
                                                                                                       day yesterday on #Sma rtVal with a record number being
                                                                                                       converted into in-home valuations...
                                                                                                       Liked by Andrew Butler




                                                                                                       This time last week our Product and Engineering
                                                                                                       Leadership team met in Birmingham for a Boomin Prod uct
                                                                                                       Strategy session fo r 2022. The day was led by...
                                                                                                       Liked by Andrew Butler




                                                              ....  -
                                                              Boomln Family
                                                                       ..__.......,.__
                                                              .....,_.... _.., __
                                                              --~-·"-"""''"....                        ®
                                                              --------
                                                              " " ·· - - -. . JU>•


                                                              ............,_,_ ..                      Liked by Andrew Butler
                                                              --
                                                              ----

                                                                                                       Boomin a re supporting ten-year-old Ben Dickinson who is
                                                                                                       set to take on a long-d istance charity walk this spring from
                                                                                                       his hometown of Larne, Ireland ...
                                                                                                       Shared by Andrew Butler




                                                                                                       Boomin a re supporting ten-year-old Ben Dickinson who is
                                                                                                       set to take on a long-d istance charity walk this spring from
                                                                                                       his hometown of Larne, Ireland ...
                                                                                                       Liked by Andrew Butler




                                                                                                       Fantastic day with o u r product engineering leadership
                                                                                                       team discussing Boomin product strategy for 2022 and
                                                                                                       beyond &'J' ! Some really interesti ng ...
                                                                                                       Liked by Andrew But ler




                                                                                                       We are looking to expand our Fie ld & Internal Account
                                                                                                       Management Team for 2022. Can I ask those within my
                                                                                                       network and those who have worked with me ...
                                                                                                       Liked by Andrew Butler
                                                                                                                  Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 26 of 30 Page ID
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Andrew Butler - Engineering Manager - Boomin I Linkedln
https:/ /uk.linkedin.com/in/butlerat
03-30-2022
3




                                                                 _.,.,. ...SOOMt. Tf!ll.111 Award Wl.nntn
                                                                fOa,IV ll!'O   ,.                       Oflll
                                                                                                                     We have an incredib ly creative and enthusiastic Tech team
                                                                                    tI                      Bo,


                                                                                           J, ..f/ ,-.       ".
                                                                                                                     here at Boomin. Neil M. has been an asset since the start -
                                                                                    ' ,.
                                                                                           ..                        it's wonderful to have you with ...
                                                                                                                     Liked by Andrew Butler




                                                                View Andrew's fu ll profi le
                                                                CD See who you know in common

                                                                rai Get introdu ced
                                                                & Contact Andrew directly

                                                                (        Join to view ful l profile )




                                                          Linkedm'J ~ 20 22                About    Accessibility   User Agreement   Privacy Policy   Cookie Policy   Copyright Policy   Brand Policy   Guest Controls   Community Guidelines   Language ....,.
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                                 #:2241




                      EXHIBIT A-6
                                   Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 28 of 30 Page ID
                                                                    #:2242

Linkedfm                  People,..      Ch ris                                         Callaghan                                                 Join now     (      Sign in )



                                                                                                                         Peop le also viewed
                                                                                                                                     Bruno Chagas
                                                                                                                                     Business Technical Analyst / Technical
                                                                                                                                     Writer at RDI SOFTWARE
                                                                                                                                     Santo Andre, SP

                                                                                                                                     Amy Tuck-Martin
                                                                                                                                     Technical Author at Mizu ho
                                                                                                                                     Chertsey
                                                                                                                   •••
                                                                                                                                     Wilfried Latta
                                                                                                                                     IT-Consu ltant for SCM at ORSOFT GmbH
 Chri s Callag han                                                       -     Echo Managed Services
                                                                                                                                     Greater Leipzig Area
 Technical Author
 England, United Kingdom · 139 co nnections
                                                                          •    University of Limerick                    1-:. Jens Schroder
                                                                                                                         ~ Project Manager bei vexxus
                                                                                                                                     Leipzig
      Join to Connect
                                                                                                                                     Sascha Tausend
                                                                                                                                     Informatio n Technology Solutions
                                                                                                                                     Specialist at Gefasoft GmbH
 Abo ut                                                                                                                              Greater Munich Metropolitan Area

 I am an English MA Graduat e w ith a Graduate Certificat e in Technical Writi ng. I ap ply my education and
                                                                                                                                     Wolfgang Schonsteiner
 qualifications in my role as a Technica l Aut hor/Writer.
                                                                                                                                     Senio r Softw arearchitekt bei
                                                                                                                                     Kreutzpointner Business Softw are GmbH
 I have good communication skills and an aptitude for techn ology. I aim to cont inually combine these                               Toging am Inn
 qualities in my posit ion and to d evelop t hem furt her in my ca reer, cont ributin g to the field o f Technical
 Communication.                                                                                                                      Lars Eriksson
                                                                                                                                     Technical Communicator Consulta nt at
                                                                                                                                     INFOTIV INFORMATION & DESIGN AB
 I enjoy keeping fit t hrough a number o f activit ies. I p layed Wat er Polo for a fi rst division Irish league tea m
                                                                                                                                     for Nolek AB
 - ·setant a' - for over 10 years an d was captain of the Queen's University Sw imming and Water Polo team,
                                                                                                                                     Karrholmen Tureberg
 winning t he 2007 Irish University Champ ionship.
                                                                                                                                     Lotta Hanski
 As id e from Water Po lo, I also play football, run, and do weight traini ng on a more casual level. I enjoy t he                   Technical Writer at Scania
 satisfact ion of working well w ith a t eam, b ut also fully ap preciate t he benefits of individual pursu its.                     Stockholm Metropolitan Area

                                                                                                                                     Michael Carleson
                                                                                                                                     Senio r Informatio n Design Engineer /
 Activity                                                                                                                            Technical Writer / Teknikinformator
                                                                                                                                     Gothenburg Metropolitan Area

                                                                                                                                     Mats Naaf
                                        Really enjoyed meeting Dimple O'Gorman yesterday. Now,
                                                                                                                                     Technical writer and method engineer @
                                        I can't wait to start my exciting new journey with Coventry
                                                                                                                                     Bo mbard ier
                                        Building Society in March
                                                                                                                                     Stockholm Metropolitan Area
                                        Liked by Chris Callaghan
                                                                                                                         Show more p rofiles ...,



                                        TodaY. is mY- last daY. at Configit after nearly_~_years. It's                   Others named Chris
                                        been a great journeY- and I've worked with some fantastic
                                        colleagues. But it's time for...                                                 Callaghan
                                        Liked by Chris Callaghan                                                                     Chris Callaghan
                                                                                                                                     Senio r Development Engineer at
                                                                                                                                     Transpow er
                                                                                                                                     Wellington Region, New Zealand
                                        Here's a short recap of our CLM Summit 2019 that took
                                                                                                                                     Chris Callaghan
                                        place in Hamburg. Thanks again to all our fantastic
                                                                                                                                     Executive Manag ing Director at C P
                                        speakers: Fergus Tooher Gunter Dueck ...
                                                                                                                                     Callaghan ltd
                                        Liked by Chris Callaghan
                                                                                                                                     Oldham

                                                                                                                                     Chris Callaghan
                                                                                                                                     Looking for new opportu nit ies.
 (    Join now to see all activity )                                                                                                 Greater Melbourne Area

                                                                                                                                     Chris Callaghan
                                                                                                                                   Assistant Coach Flo rida Institute of
 Experience                                                                                                                          Technology Mens Soccer at Florida
                                                                                                                                     Institute of Technology

             Technical Author                                                                                                        Sebastian. FL

     eo,/    Echo Managed Services                                                                                                   Chris C.
             Jan 2020 - Dec 2021 · 2 years                                                                                           Railway Eng ineer at Network Rail

             Walsa ll, England, United Kingdom                                                                                       Milton Keynes

             I worked wit hin a d ocument ation tea m on t he creation of a su ite of functional user                    189 others named Chris Callag han are on
             documentation from t he bot tom up. Liaising w ith d evelopers, SME's, contact centre, and
                                                                                                                         Linked In
             senior management I gave direct ion on st ructure, style, and format of the use r content for
             t he first go -live customers o f a global mu lti-ut ility Saas b illing sohware product, Aptumo.
                                                                                                                         (    See others named Chris Callaghan )




     ■
             Technical Writer
             Configit
                                                                                                                         Add new skills with t hese
             Jan 2019 - Jan 2020 · 1 year 1 month
                                                                                                                         courses
             Solihull
                                                                                                                                               How to Persuade When Facts
             My role here was as a Tech nical Writer for t he Configit Ace product, a Configurable Lifecycle
                                                                                                                             -·--··..•-·       Don't Seem to Matter
             Management (CLM) solut ion. This role includ ed liaisin g with d evelopers, coordinators,
             managers, other tea ms and cu stomers to develop p rocesses and standards, write/mainta in
                                                                                                                                               Inst alling and Adm inistering
             style gu ides, reference materials, o nline help, release, marketing and API d ocumentat ion.
                                                                                                                                            Atlassian Confl uence




     ■
             Technical Author                                                                                                                  Learning SCORM and Tin
             Semcon                                                                                                                         Can AP I
             Oct 2016 - Dec 2018 · 2 years 3 months
                                                                                                                         (    See all courses )
             Warwick
             I aut hored customer car handbooks for Jaguar Landrover (JLR). This involved liaising wit h a
             Technical Aut hori ng Team, Engineers and Graph ic Designers t o d evelop in struct ional and               Chris' publ ic profile badge
             legislative documentation for the latest automot ive applicat ions.
                                                                                                                         Include t his Linkedln profile on other
             English EFL Teacher                                                                                         webs ites
             BMCOE
             Aug 2012 - Jul 2016 • 4 years                                                                                             Chri s Callaghan
             I completed a full schedu le of 20+ classes p er week across element ary, middle and high                                 Technical Author

             school syllab i. I also d eveloped, directed and evaluat ed online courses, and participat ed in
                                                                                                                                   University of Limerick
             various school act ivit ies wit h my st udents an d colleagues.


             Pension Administrator                                                                                            V,     irof                             Linkedl!l'.I
             Ca pita
             Apr 2012 - Aug 2012 · 5 months                                                                              (    View profile badges )
             I qualified as a Pension Administ rat or for Capita, a mult i- national company. I managed
             support for IFAs and clients, streamlined i n house IT prog rams and vetted applicati ons in a
             cent re o f excellence for pension se rvices.


             Engineering Support Officer
             Phoenix Energy Services
             Jun 2011 - Apr 2012 · 11 months
                                   Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 29 of 30 Page ID
                                                                    #:2243
          I controlled in house IT software to schedu le and record engineering appointments and
          archived th e correspo nding gas safety (installation and use) regulation docu mentation
          records upon co mpletion.

          Material Planner
          Dennis Eagle Ltd
          Aug 2010 - May 2011 · 10 months
          Using JIT techno logy to forecast and plan a production line fo r a major British
          Manufacturing Co mpany, I liaised with buyers, sup pliers, engineers, production managers
          and sales departments to ensu re production targets and sales quotas were met on a weekly
          basis and qua rterly targ ets were achieved.

          Customer Service operative
          Loomis Technical
          Apr 2009 - Aug 2010 · 1 year 5 months
          I was respo nsible fo r maintaining 10% of UKATM mac hines and coordinating cash transit for
          major British co mpanies. This involved manag ing IT processes, invoicing, databases, spread
          sheets, and dealing with customer queries.

          Academic Peer Tutor
          St. Mary's Un iversity
          Aug 2004 - Jun 2007 · 2 yea rs 11 months
          I qualified in tutoring students on how to improve their written and oral assignments. During
          this time, I also attended several co nferences on Tutoring, incl uding the America n National
          Peer Tutor Confe rence, g iving a presentation on Transatlantic Bou nda ries within Peer
          Tutoring.

          University Lecturer
          Un iversity of Utrecht
          Feb 2007 - May 2007 · 4 months
          Operating as a full member of the academic staff for the Accurate English cou rse, I
          com municated effectively with faculty members, scheduled, planned and taught 2hr classes
          of 20 students, set and marked course assignments, invigilated and marked exa ms and
          collated and reco rded results.

          Journa list
          Daily Ireland News Grou p
          May 2006 - Jun 2006 · 2 months
          I conducted investigative and journalistic duties for three different newspapers. Within the
          news group I had several articles published, mainly in the features section of the
          newspapers, including a travel article on Slovenia based on Erasmus exchange student life.



Education
          University of Limerick
          Graduate Certificate · Techn ical Writing
          2014 - 2016
          Stu dying how to write effective and easy to fo llow instructions for technology products
          using industry tools - Framemaker, Madc ap Flare, Captivate. Learning the fundamentals of
          code - XM L, CSS, HTMLand lea rning how to write simply and effectively using MS Office
          programs - Wo rd, Powerpoint, Excel.



    IJ    Queen's University Belfast
          Master's degree · Eng lish Literatu re
          2007 - 2008
          I studied Modern Engl ish with emphasis on 19th centu ry literary critical theory. During this
          time, my research, criti cal and analytical skills improved considerab ly. It taught me how to
          app ly a serious methodological approach to manage a large project fro m co nce ption
          through to completion.

          St. Mary 's University Belfast
          Bachelors Deg ree · Liberal Arts; English
          2004 - 2007
          A broad base deg ree covering Humanities, Econo mics and Arts, specialising in English
          Literatu re. Du ring this time I also wo rked as an Academ ic Pee r Tutor, employed by the
          Un iversity and participated in the Erasmus student exchange programme, studying for 5
          months in Ljubljana, Slovenia.




Recomme ndations received

         Louise Feveile Rasmussen
         "At Configit, I was responsible fo r onboa rding Ch ris in a distributed team of Technical Writers.
         It was clear from the start that Ch ris is a very skilled technical writer. He is committed to
         understanding and precisely commu nicating complex configuration technology to various
         target audiences, rangi ng fro m develope rs to users. Chris is very quick at learning new tools,
         for exam ple, Madcap Flare, and he is a strong advocate for topic-based authoring. He has a
         great sense for detail and structure and has been the driving force behind improving our style
         guide. With his positive approach and natural curiosity, Chris reaches out across the
         organization to acquire the detailed knowledge necessary for writing documentation. It has
         been a great pleasu re to work with Chris, and I wish him all the best in his futu re career."


1 person has reco mmended Chris

(   Join now to view )




More act ivity by Chris

                                      The results are in! This morning I received th e news that I
                                      have been wanting to hear f or qu ite some t ime ... I have
                                      passed my Advanced Level 3 ...
                                      Liked by Chris Callag han




                                      You know our Virt ual Tabulation ® t echnology is the most
                                      powerf ul in th e market. But do you know how it can help
                                      you in you r j ob? Read more about t he...
                                      Liked by Chris Callag han




                                      All ready to prove t he value Config it and
                                      #configurationlifecyclemanagement on 4th and 5th
                                      February #plm #piplmx #pi_plmx #manuals...
                                      Liked by Chris Callag han
                                      Case 2:20-cv-09019-JAK-MRW Document 79-4 Filed 08/25/22 Page 30 of 30 Page ID
                                                                       #:2244




     View Chris' full profile
     CD See who you know in common

     � Get introduced

     & Contact Chris directly


     ( Join to view full profile )




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